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    1                           CERTIFICATE OF SERVICE
    2        I hereby certify that on January 18, 2022, I electronically filed the foregoing
    3 document entitled with the Clerk of the Court for the United States District Court,
    4 Southern District of California using the CM/ECF system and served a copy of same
    5 upon all counsel of record via the Court’s electronic filing system. Any counsel of
    6 record who has not consented to or registered for electronic service through the
    7 Court’s CM/ECF system will be served by electronic mail, first class mail, facsimile,
    8 and/or overnight delivery.
    9                                                /s/ Alicia A. Baiardo
                                                      Alicia A. Baiardo
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                                    CERTIFICATE OF SERVICE
